The Federa Ro e in
Weather Modification
Domestic Council
Environmental Resources Committee
Subcommittee on Climate Change




                                    P00000126667
                         Subcommittee on Climate Change
                        Envi ronment al Resources Cocmii t t ee
                                 Donestic Council

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                                        Rese arch      alld       i 11 ,inte rill
                                        Department            i    Ec:·.    .e




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                                EXECUTIVE SUMMARY


    Rconomic losses due to weather extrenes and severe weather events have
    steadily increased.  Increauing population and croperty development make
    it likely that this will continue.  The present and growing water short-
    ages in many areas of the Nation have also created serious problems of
    National concern,
I   Weather modification represents a potential tool for exerting a favorable
I   influence over destructive weather events and for augmenting water supplies
    in some areas where additional water is needed for energy, food, and fiber
    production.

    General Recommendation

           042
            A policy should be adopted to develop, encourage, and maintain
I           a comprehensive and coordinated national program in weather mod-
            ification research and in the beneficial application of the
            technology along the lines of the recommendations embodied in
            this report.

    Specific Findings and Recommendations

    A.   RESEARDI

         Findings

           Present Federal strat-egy in research in weather modification is
           to develop techniques to achieve particular objectives such as
            augnent ing water resources or dininishing the damage from hur-
            ricanes.   The strategy does not view the development of a
           weather modification science and technology as a specific
           national    goal whose achievenent would allow many different appli-
           cations as needs arise.

           This strategy, which encourages the individual agencies to conduct
           weather modification research in pursuit of their assigned

i          missions, aan divided the research responsibility, while budgetary
           limitations over the nast several years have produced a situation
           in which many individual projects are marginally staffed, funded,
           and operated.
I          The level of scientific and technological conolexity of even
           modest weather modification experinentation requires a higher

I          level of funding than has usually been available to accomplish
           individual project goals.

          042
           While progress has been generally slow and neven, some advance-
           ment has been achieved over the past twe decab in several types
           of weather modification research n er exi .tinc policies,

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    042
     More vigorous encouragement and development of the fundamental
     knowledge of the physics and dynamics of cloud processes are
     necessary to permit adequate development of the potential of
     this field.

Recommendations

    042
     The Federal Government should recognize weather modification as
     having significant potential for ameliorating important weather-
     related problems and foster a broad-based effort of research and
     experimentation in weather modification designed to realize this
     potential during the next decade.

    042
     The Federal Government should examine its institutional structure
     for planning and management of the national weather modification
     af fort to carry out its responsibilities for research and experi-
     mentation. The Subcommittee identified two practical institutional
     options but could not achieve consensus on either. A decision
     should be made between the following options:

          Option (1)    Continue coordination and planning of the national
                        weather modification effort through the Inter-
                        departmental Committee for Atmospheric Sciences
                        of the Federal Council for Science and Technology,
                        with individual agencies pursuing their mission
                        responsibilities.

          Option (2)    Establish a lead agency to foster the broad
                        advancement of the science and technology of
                        weather modification as recommended by the National
                        Advisory Committee on Oceans and Atmosphere, the
                        National Academy of Sciences, and other groups to
                        coordinate and plan the not ima' effort with the
                        aasistance and participation of                ther agencies.

    042
     Weather   modification   research   in yener       1     ou     5e funded at an
     increased level to ensure that present marninal efforts can be
     transforned into significantly more pradue ive   t ivities.

    042
     The Federal Governnent should develop r.d sumer                     more vigorous
     progran a: fundanental research and e:·:peri: nr.it i               in the physics
     and dynamics of cloud procesws        to awr e weather modification
     technology and its app icat10¬·                                                                E

e    Greater emphasis in research shan          h       p!a         ,a t e assessment of
     the socioecono~ic and ""' im        442"                           ther modification.

    042
     Greater emphasis shou!  he pl                  t                   t of improved
     methodologies to evaluate t e                             th       dification.




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    B.   OPERATIONS

         Findings

            Few operational weather modification techniques have been
            thoroughly proven.

           042
            Several weather nodification techniques are sufficient1v close
I           to a stage et   proven effectiveness that they should be considered
            as management options in some situations.
         Recommendations
I          042
            When and if weather modification techniques are determined
I           feasible and desirable for a given situation, the Federal Govern-
            ment should reserve for itself the responsibility in the following
            areas:

            -   Precipitation modification related to water resources
                benefiting several states and to projects under Federal
                jurisdiction.

            -   Weather modification to improve conditions over airports,
                roads, ports, National Forests, and other lands under
                Federal jurisdiction.

            -   Mitigation of large-scale (more than one State) developing
                drought, with the concurrence and cooperation of the States
                involved, where it is determined that the ef fects eay be
                widespread or threaten the Nation's welfare.

                Mitigation of hurricanas and other extensive storm systems,
I               which affect more than one State and represent a major threat
                to life and property.

           042
            The States and private sector should be encouraged to consider
            operational weather =odification as a management option addressed
            to proble-_s other than those specified above as being Federal
            responsibilities.

          042
           Private sector capabilities should be used in the conduct of
           Federal weather modification operations where both feasible and
I          desirable.

         REGULATION

         Findings

          042
           Additional Federal regulatory legislation i    not needed at this
           tice.

          042
           Present reporting procedures have fulfilled an important need.

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 042
  Given the significant amount of activity in the field as well as
   the potential for increased use of the technology, prudence dic-
   tates a continuine, examination of the need for Federal laws and
   regulations and internat ional treaties and agreements to e,overn
  weather mediticar ton activities.

Recommendations

 042
  A formal procedure should be established for the periodic reassess-
  ment of regulatory needs, based on an ongoing review of operational
  weather modification activities.

 042
  Tne desir,n and implementat ion of future U.S. denestic and foreign
  weather modification activities should include prior assessment .)
   the potential   international   implications.




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    Appendix A:   A Lead Agency for the National Weather
                  Modification Research Program . . . . . .                                          A-1


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PREFACE

     The Domes tic Council's                                               Con Lttee       b
request of the Council, formed th               540
                                                 EMäsi t

August 1974.       One element of the Subcèssälttee                 charter was to examine

and make recommendations on the Federal role in weather modification

research, operations, and regulation.

     The Subcommittee is composed of representatives drawn from the                                      I
Departments of Agriculture, Commerce, Interior, State, and Transportation;

the Council on Environmental Quality; the National Aeronautics and Space

Administration; the National Science Foundation; and the Office of Manage-

ment and Budget.         The Department of Defense participated as an observer in

discussions on weather modification.

     In preparing its report, the Subcommittee has drawn substantially

from recent documentation on the progress, status, and problems in weather

modification and, through a two-day open hearing, from well-informed

representatives of the scientific community, commercial sector, state

governments, conservation groups, agriculturalists, and the legal field.

Although inadvertent changes in the weather that may be caused by human

activity are discussed briefly, the Subcommittee limited itself to deliber-

ate weather modification in developing its conclm.ions and reommendations.

     Tae Subcommittee recognized            the increasine          level    of activity in

weather modit ication in other countries an:! the -,lé that t                          uited States

may play in those programs.             A!so recnenize I was the fact ·hat             lomestic use

of weather modification techniques has tx wential for intern:tional

impacts.        However, because of tine and resour                          tí w ,      Subcommittee

decided    to    limit   the scope of    this   report   tc   a e     ti       oc


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    THE POTENT I A( BENUI TS O F WE ATHE R MOD I F I CAT I ON

          Most human activity is directly or indirectly influenced by                   r.

    Historically, man has attempted to modify his activities to take advantage

    of prevailing weather and minimize the effects of adverse weather.            During

    the last quarter century, however, he has been attempting to develop tech-

    niques by which he can manage the weather as a resource for his benefit

    and for the protection of life and property.

          Although early interest in weather modification centered on increasing

    economic benefit through stimulation of local precipitation, there has been

    an increase in research directed toward reducing losses from adverse wea-

    ther and certain weather-related disasters.            Reduction of losses due to

    severe storms invites particular attention because losses are often large

    for any single event and, because of increasing urban development in

      Irn-rable areas, average annual property losses are increasing drastically.

         Property darage caused by hurricanes has been increasing in the

    United States since early in the Twentieth Century while loss of life has

    been decrea:,Ing.     Improvements in the hurricane warning service and in

    community preparedness programs are saving lives.           Expansion of cities

    into vulnerable areas and construction along coasts are largely responsible

    for the increased annual property less, now estimated to exceed $780 mil-

    lion (table 1) with large v iriation fron year to year.          Relatively few

    storms cause most of the damage.

I        Property damage from tornadoes has increased dramatically over the

    past three decades.      Damages during 1970-1074 averaged $360 million per

    year, approximately 10 tínes the annual average during 1940-1944.            Tornado-

    related deaths during 1970-197. averaged 14n ner year, approximately



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                                                                                  P00000126675
Table 1.     Annual property damage and loss of life from weather-related disasters and hazards in the
             United States and FY 1975 Federal weather modification research funding

                                                          Property Damagel/            Modification Research
Weather Hazard               Loss of Lifel/             (Billions of Dollars)          (Millions of Dollars)

Hurricanes                    30 (1970-74 Avg.)            0.8 (1970-74 Avg.)                  0.8*
Tornadoes                    140 (1970-74 Avg.)            0.4 (1970-74 Avg.)                  1.0**
Ha il                         -                            0. H (1973)                         3. 9
Lightning                    110 (1950-72 Avg.)            0.1                                 0.4
Fog                         1000 (Avg.)                    O. S (Avg.)                         1.3
Floods                       240 (1965-69 Avg. )           2. 3 (1965-69 Avg. )                 -
Frost (Agric.)                -                            1.1 (Avy..)                          -
Drought                       -                            0. 7 (Avg. )                        3. M

        1ot als             ! 5?O                          6. 7                               10.8

*     These funds do not   include capital investment in research aircraft and instrumentation prinarily for
      r.urricane modification, which in FY 1975 amounted to $9.2 nillion.
** These funds support theoretical research on modification of extratropical cloud ristems and Llieir
      at tendant severe storms such as thunderstorms and tornadoes.

#     These funds support precipitation augmentation research, much ot which may not have direct
      application to drought alleviation.
l/ Sources:       Assessment of Research on Natural Hazards, Gilbert F. White and J. liugene llaas,    The MIi
      Press, Cambridge, Mass., 1975, pp 68, 286, 305, 374; The Federal Plan for Meteoroianical Services
      and Supporting Research Fiscal Year_1976, U.S. Departrent of Comrerce, National Oceant and Atro-
      spheric Administration (NOAA), Washington, D.C., Aprìí 1975, p 9; Weathenaise, Feb. 1971, 1972, 1973
      1974, 1975, American Meteorological Society, Boston, Mass.; so-mary Report on Weather Meditication,
      Fiscal Years 1969, 1970, 1971, U.S. Department of Corerte, NOAA, Washingten, D.C., May 19/1, pp 7.',
      81; EstimatingJrop Losses Due to Hai     Working Datp for County Estimates,   .S. Department of
      Agriculture, Economic Research Service, Sept. 1974; Natural Disasters: some Lgirtual anJ Em mt.
      Considerations, G. Thomas Sav, National Bureau of Standards, Wa:;hinnton, D.C., red. 19 .., p 19;
      Traffic Safety Magazine, National Safety Council, Feb. 1974.




                                                                                                                 P00000126676
    16 percent lesc than during 1940-1944, undoubtedly the resul t of           improve-

    ments in the ti eliness and accuracy of tornado forecant; and nuhlir               .

    response   to   the   f orecasta.

         Other severe weather events that cause substantial dawe in the

    United States for which reasonably reliable loss figures are available

    are hail and lightning.         In 1973 the annual hail damage to crops in the

    United States totaled $680 million.             Damage to other property brought the

    U.S. 1973 hail damage figure to over $750 million.            The average annual

    lightning-caused forest fire damage exceeds $100 million, not including

    cost impacts of the reduction in esthetic value and possible further

    damage due to floods from denuded watersheds.

         A fifth weather hazard, fog, costa domestic airlines more than $80

    million per year due to aircraft delays, diversions, and cancellations.

    Fog-associated accidents on the Nation's highways and in the Nation's

    ports cause approximately 1000 deaths and damages in excess of $400 mil-

    lion each year.

         Tne average annual cont in the United States directly identified

    with nelected impacts of these five ha:-ards - hurricanes, tornadoes, hall,

    lightning, and fog - exceeds two hillion dollars.            It is more difficult to

    assign a precise dollar value to losses suffered as a result of other

    forms of adverse weather, particularly extremes in precipitation and temp-

    erature.   Conservative estimates, bewever, place annual average losses

    from floods and frosts in excess of three billton dollars, with frost

    being primarily an agricultural problem.            'Jeather is, in fact, the most

    significant variable explainínc; year-ta-vc tr rluctuations in the yield of

I   most agricultural crops.            It has b en estimate   for example, that drought



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(a period when water la de f i c í en t enough f or long enough to cause ser I mus

crop damage over a sinablo     reM causes average annual crop losses in

excess of $700 million.     Tacre are, however, large vear-to-year varfulons

in these losses, ranging near zero isoptinuih giowing years to billions of

dollars in years with severe drought conditions.        For example, loss esti-

mates from crop damage in Nebraska alone as a result of the 1974 drought

totaled approximately one billion dollars.

     Weather modification is one alternative, albeit technically limited,

available to decrease the risk of loss from weather hazards.         Other

alternatives include relocating economic and population centers to low-

risk areas; constructing weather-proof facilities; or expanding hazard

insurance coverage.    To the extent that weather modification is economically

more attractive than its alternatives, it should be employed.         However, it

is recognized that not all weather-related losses can be prevented.           Con-

sider hurricane losses for example.         Weather modification has the potential

of reducing winds and wind damage, but there are no present techniques

which could reduce losses due to heavy rainfall and inland flooding.           There-



a full recovery of the S780 million loss as shown in table 1, but only a

fraction of the loss attributed to wind damage effects.         In a similar

sense, weather modificat ton to anellorate damage f rom tornadoes, hail, and

ligatning could only be selectivelv practiced due to the widespread occur-

rence of these storrs and the difficulty in predict ing their occurrence.

Nevertheless, even a ten percent reduction of lo>es from severe storms,

drought, and fog would save $300 to $400 million annuallv.          Present

Federal Investment in weather modification researc i, hcvever, is


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                                                                                     P00000126678
    insufficient to make substantial progress toward these levels of return in

    the near future.

         Most existing experimental weather modification techniques are inex-

    pensive to apply compared to their potential utilftv.    Esticated benefit-

    to-cost ratios of potential weather modification technologies range from

    about 3 to 1 for fog dissipation at airports, 30 to 1 for precipitation

    augmentation, and as high as 100 to 1 for hurricane moderation.    In a few

    cases the benefits to some may be partially offset by losses to others,

    but there may well be sufficiently large net benefits to enable compensa-

    tion programs in those instances.

         For example, it has been estimated that an additional inch of rain in

    North Dakota during the growing season could provide $100 million in

    direct benefits through increased crop production plus an additional $200

    million in indirect income within the state economy.    The cost of a state-

    wide precipitation augmentation program would be less than $2 million per

    year.2_   While it is not proven that an additional inch of rain can be pro-

    duced consistently by cloud seeding, a 2700 square mile pilot project in

    North Dakota has shown that such changes are within the realm of possi-

    bility.

         Such favorable benefit-cost-ratios offer inducements to make use of

    promising ideas as they are developed.    A strong responsibility rests upon

    the Federal Government to develop, test, evaluate, and refine these teph-

    niques and to document ancillary consequences.
I                                                                                   .




    2/ The Effects of Added Rainfall During the Growinn Season in North        ta
      North Dakota State University,    June E, 1974.

    3/ Evaluation by Monte Carlo Tests of Effects of Cloud Seeding on Growing
       Season Rainfall in North Dakota, hv A.S. Denni , et al., J. Appl.
       Meteor. V. 14, No. 5. August 1975, p. 959-969.




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                                                                           P00000126679
                                                                                      I
     Social acceptabtlity of both research and nperational weather modifi-

cation has varied considerably with location in the United States and else-

where.   In Florida the fear of additional rain from a cloud seeding

experiment harming tomato crops at critical stages of development   caused

curtailment of the seasonal duration of the program.   Potential avalanche

danger in the Colorado Rockies and impact on hunters have restricted

experiments in snowpack augmentation.   There have been attempts to halt

operational programs through court injunctions and even through violence.

Such problems have not been the rule and good com-unications and public

relations have usually minimized unfavorable reactions.   Nevertheless, it

is clear that social, environmental, and international concerns must be

fully explored to assess the potential adverse impacts of routine applica-

tion of weather modification techniques.



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                                                                             P00000126680
    THE STATE OF THE ART

I          The principal focus for weather modification concerns and activities

I   are:

           1.   Fog and stratus cloud dissipation;

           2.   Precipitation enhancement;

           3.   Severe storm amelioration, including intensity reduction,

                redistribution of precipitation, and hail and lightning sup-

                pression;

           4.   Inadvertent weather and climate modification; and

           5.   Deliberate climate modification.

           The ability to achieve a modification objective varies significantly.

    In some categories progress has been substantial; in others research has

    only begun.       Few modification techniques have been scientifically proven

    to be completely effective and dependable.       Nonetheless, some deliberate

    weather modification is practiced as a commercial service sold to private

    r;roups and local and Federal Government entities.      Approximately 65 percent

    of these services are directed at precipitation enhancerent.         The remain-

    inn operations are divided nearly equally between fog dispersal and hail

    suporess i on.

           Briefly, the state of the art in weather nodification -tay be sumnarized

    as f 0110ws :

           1.   Fog and stratus cloud dissipation

                    042
                     Supercooled (water droplets at a terper.uure below freezing) \          ,/

                     f3 and stratus can be cleared fræ airports.       Öperational

                     systems for cold fog dispersal have been established at

                     U.S. Air Force bases and at some crarci   1   n    ields in the

                     United States and in several foreign muntries.



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      042
       Warm fog (at a temperat

       demonstrated as technica                         tàin meteMologicål

       situations.     The only operationa       ptùven technique, however,

        is the application of heat over airport runways to evaporate

        fog.                                                                                  um

2.   Precipitation enhancement

      042
       Snowfall in certain mountainous areas of the western United

        States can be increased locally by 15 to 20 percent and in

        some instances redistributed by seeding winter orographic

        clouds.   This capability was established to the satisfaction

        of much of the scientific community during the 1960's at

        Climax, Colo., and is being tested in other mountainous regions

        of the West.     Private weather modifiers, however, have been

        conducting operational vinter orographic cloud seeding to

        increase snowpack for power companies and water interests for

        over 20 years.     These programs have been commercially f unded

        and endorsed; however, they have not been designed for rigerous                       I
        scien t if ic evaluar ion.

       042
        Long-term seeding experiments mnjuctml in           mthern California,

        :srael, and Australia to stimulate ore in           tien   rom winter

        convective sys t em have prcurided s : nni    e t    p» í r :·ie results

        Israel recently converteci :3 an an· -sti al seccin          program

        supported hv continuing resemh ane                           this tech-

        nology.   Winter convectiw wste                             )f convective

        cells embedded in st rat if aro   Icud                       persuasive

        evidence of sizeable extra-area e         t                  of seeding

                                                                                             I



                                                                                    P00000126682
                 winter convective at                                     infAll off

I                seeded occasions have bee       4ùd   Ö   o 150 miles downwind of

I                seeding sites in southern Ca)1fornia.

                 Recent experiments in the Plains States, especially t           in

                 the Dakotas, and experiments in Florida involving randomized,

                 ice-nuclei seeding of sumer convective clouds strongly suggest

                 that precipitation can be enhanced from same isolated cumulus

                 clouds.   "Seedable" clouds, as determined by simple computer

                 cloud models, produce more precipitation when seeded than when

                 not seeded.   However, the majority of summer rainfall comes not

                 from isolated clouds but from organized convective systems.

                 Resul ts f rom experimen ts in organi zed cloud sys tems ove r f ixed

                 target areas have not been as conclusive although recent find-
                                                                      4/ Four
                 ings of the North Dakota Pilot Project are promising.-

                 years of seeding research in Florida over a target area of

                 4900 square miles have shown that the natural variability of

                 convective rainfall is far greater than the additional rainfall

                 expected from seeding, thereby making definitive proof of rain

                 increasen elusive.     Despite the leick of definitive proof of

                 success, operational application of convective cloud seejía,;

                 to augrent precipitation has been extensive under       the spansdr-

                 ship of state and county govern-ents and pri-ary water users,

                 especially in agricultural regions such as %rth n! sauth

I                Dakota, Texas, and Ok1ahoma.


I   4/   Ibid.


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3.   Severe storm amelioration

      042
       Hail supprecion is a for- of precipitation modification for

       which some success   in   reported.     Most hall suppression opera-

        tions in the United States       are conducted bv   co-crrial   c]nud

        seeders under contract to state and countý governments and

        community associations.        Hail suppression operations are con-

        ducted extensively in foreign countries.        However, the lack of

        a satisfactory system for evaluating the results of these

        operations leaves many important questions unanswered.          Three

        years of field experimentation by the National Hall Research

        Experiment (NHRE) have not provided sufficient information and

        understanding to answer these questions.

       042
        Results of field experiments to suppress lightning activity by

        silver iodide seeding have been ambiguous.          Although the analy-

        sis is continuing, the seeding program has been terminated.

        In recent experiments in lightning suppression, thunderstorms

        were seeded from below with chaff (very fine metalized nylon                       I
        fibers), and the number of lightning occurrences was observed

        to be about 25 percent of that observed in the control storms

        (based on an analysis of data from 10 seeded thunderstorms and

        18 unseeded control ster:s).        Althauá the experiments were not

        strictly randomized, stari         c-11 evaluation indicatei that the

        abserved difference between seeded and ontrol storm

        signi ficant.

       042
        Hurricane r.odification research and tield exeerinents sm;gest

        that the maximum winds in hurricanec. r ich: he reauced           10



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                                                                                  P00000126684
            to 15 percent if the app    pr    e clouds of the storms are

            seeded with freening nucÍÁi      Additional experiments are need-

           ed, however, to determine if the observed reductions in maxi-

           mum wind are truly results of the seeding.     There is no

            indication that the hurricane track or associated precipitation

            can be modified.

          042
           Tornado suppression is beyond the present state of the art


i          with little hope for success in the near future.     Long-term

            investigations have been initiated recently into the modifica-

I           tion of cyclonic storm systems and the mitigation of,their

            attendant severe weather.

    4.   Inadvertent weather and climate modification

          042
           A major field project, the Metropolitan Meteorolog              eri-

           ment (METROMEX), was established in 1971 at St. Louis, Mo., to

           study the effects of urbanization on various aspects of

           atmospheric behavior (inadvertent regional climate modification).

           Preliminary results show that the St. Louis urban-industrial

           complex influences summertine convective storm hehavior,

           increasing the average precipitation by 20 to 30 percent and

           the intensity and frequency of severe weather including hail

           by even greater a=ounts in localized areas within 25 miles

           downwind of the city center.

          042
           Studies are being conducted to assess the large-scale impact

           of man's activities on clinate (inadvertent global climate

           modification).   Thermal pollution, particulate pollution, and

           increased generation of such gases as CO,, No, and chloro-

           fluoromethanes are being studied.     For exa-ple, the Glimate
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       Impact Assessment Program has examined the effect of high

       altitude aircraft.    A global network of monitoring stations ts

       being established to determine baseline values of s-all, vari-

       able trace constituents of    the atmosphere and to Jeter-ine the

       effect of long-term trends in these trace constituents on

       global weather and climate.     These data will provide input for

       diagnostic and prognostic numerical global models being

       developed to predict climate changes resulting from man's

       activities.     At this time, however, knowledge about inadvertent

       modification processes is insufficient to allow definitive

        conclusions.

5.   Deliberate climate modification

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       The United States Government is not giving serious attention

        to any proposals to intentionally modify climate over sizeable

        areas.                                                                       I
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     THE ROLE OF THE FEDERAL GOVERNMENT

          The Subconnaittee on Climate Change is charged with exruníning the

     Federal role in domestic weather modification activitten.      Delibern.ion by

     the Subcommittee included a two-day open hearing at which selected indivi-

     duals with valid concerns and well-formed views on the Federal role in

     weather modification were invited to testify.      Speakers included represent-

     atives from the research community, private operators, the legal sector,

an   state governments, conservation groups, and agriculturalists.

          In addressing the Federal role in weather modification, the Subcom-

     mittee limited itself to those activities identified earlier as deliberate

     weather modification.       The Subcommittee examined separately issues in

     research, operational programs, and regulation and concluded that there is

     a need for a Federal policy covering these areas.       It is recommended,
     therefore, that:

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             A policy be adopted to davakp, e       ,ccape



              cdification research and ir, ¾e bene                        a

             the techr: Logy .

     Specific findings and recomendations which could form the basis for such

     a policy are presented in this section of the report.

     A.   Research

          Weather modification encompasses many research areas.        Fundamental

     research is conducted in cloud physics, cloud dynamics, and in natural and

     artificial nucleation.       Equipment development includes neasuring instru-

     ments and delivery and observing systems.        Supporting studies include

     numerical and physical modeling, analysis and evaluation st         les, field



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experimentation, and special studies of the sociological, ecological,

economical, legal, and internatienal impacts of weather modification.                          I
Although field experimentation is the most visible par t of the program, it

represents only a portion of the total Federal research effort in weather

modification.

      An identifiable coordinated Federal research program in weather modi-

fication has been in existence at least since 1959 when the National Science

Foundation, in response to Public Law 85-510, established a program to

support studies, research, and evaluation in the field of weather modifi-

cation.     After a slow beginning, Federal funding for deliberate weather

modification research increased steadily from $3.7 million in FY 1965 to a

peak of $18.7 million in FY 1972.        Support for the program decreased 34

percent to $12.4 million in FY 1975.          As shown in table 2, six Federal

agencies have participated in this research program.          FY 1976 planned ex-

penditures indicate an increase of $1.7 million with the support being

increasingly concentrated in three afencies, the Departments of Commerce

and Interior and the National Science Foundation.

      The Subcommittee recognized that the Interdepartmental Comittee for

/amsoberic Sciences (ICAS) figures, which fann the basis for table 2,

have excluded capital       investments in Departnent of Commerce aircratt and

instruz.entation used primarily for weather nodificat ion.        In FY 1976 these

 id I t iona l   t unds amounted to $5.5 nillion.

      Table ? also includes the FY 1976 planned expenditures for rescarch

in meteorology, as defined in the ICAS annual reports a the national atmo-

 pheric sciences program.        These include researcn   anc develennot   expendi-

tures in such areas as physical and dynartic meteorolyv, o¬scrvato a,



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    description, prediction, and dissemination, and major support items such

    as highly instrumented research aircraft.         CIcarly, funding for weather

    modification research is a small amount embedded in a much larger progra

    of atmospheric research.       HoweveWaanýMacets of the larger program relate
I   to weather modification and provide indirect benefits.

    Table 2.     Agency Funding for Deliberate Weather Modification Research
                 Compared with Total FY 1976 Funding for Meteorological
                 Research5_/  (Millions of Dollars)

                                                                              Total FY 76
                                                                              Meteorology
    Agency                          FY 72   FY 73   FY 74   FY 75     FY 76     Funding

    Dept.    of Agriculture          0.4    0.3     0.3     0.1       0.1         2.3
    Dept.    of Commerce             3.9    3.8     3.3     2.7       3.3        53.7
    Dept.    of Defense              1.8    1.2     1.2     1.3       0.5        26.1
    Dept.    of Interior             6.7    6.4     3.9     3.5       4.6         4.6
    Dept.    of Transportation       0.4    0.4     0.1     0.1       0.0        11.7
I   Nat'l    Science Foundation      5.5    6.2     4.7     4.7       5.6        45.9
    Other    Federal Agencies        0.0    0.0     0.0     0.0       0.0        64.3


            Totals                  18.7    18.3    11.5    12.4      14.1      208.6


            Virtually all research in weather =odification in this country has

    been Federallv stmeerted.       In reviewing the Federal role in this area of

    research, the Subcommittee noted with concern the lower level of support                     )

    for conducting research programs during recent years.            The Subcommittee

I   unanimously feels that the Federal Government must recognize and fulfill

    its commitment to research in weather modification.             Greater nonfederal
I   part icipation should be encouraged.       States are now contributing in some


I   instances.       For example, some state govern=ents have made funds available

    to participate in the Bureau of Reclamation High Plains Cooperative Program,

I   S/ National Atmospheric Sciences Progon Fiwal Year 1976, Interdepartmental
      Committee for Atmospheric Sciences, W.mhíngton, D.C., ICAS 19-FY76,
I     May 1975.



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                                                                                  P00000126689
and one state is participating in METROMEX.             It is hoped that sun stato

government involvement in research will continne.              There ope,r

little incentive for private         industry to invent    its cwn    esources          in

research in weather modification.

       The magnitude of individual experimental weather modification pro-

jects dictates Federal responsibility.             In major weather modification

projects, such as the hurricane modification experiments, there can be no

question concerning the Federal role.             Clearly, such projects must remain

the responsibility of the Federal Government if for no other reason than

the imensity of the undertakings, the social and international implica-

tions, and the magnitude of the required resources.              Even smaller projects

like NHRE and METROMEX require a concentration of resources unlikely to be

made available other than through the Federal agencies.

        The Federal research effort in weather modification has been subject

to persistent criticism by various review groups during the past few years.

The most consistent criticisms include the lack of a National policy ,

fragmented programs, and suberitical f unding levels. 6 7 8/               In their

recent    review of the administration ut         rederal weather nmiifi.           icn

search,    for example, the Genera! Accounting Office indic teti                n       :n    or

the    fragmented   nature of past    rec·earch   activities   ami cite    t        1   a     f



6/                             nt    and ''he Congress,   Nat iena        i .             n   tree
      on Oceans and Atmosphere, First Annual Report , June ji,            19

7/ h'eather and Climate Mocilfication, Problems .nd Prwress,   emit'c.                        on
   Atcospheric Sciences, National Academy a: Sciene          n                                .,
   l'373.

S/ Need for a National Weather Modification Reeirch Pr                                        o
   the Cangress B-133202, August 23, l 060,! metroll r                o                 th.
   U.S. General Accounting Office, Washington, LF.


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                                                                                                   P00000126690
    central management of the ovûa           afdh effort.   The Subcomittee,

    taking these criticisms into consideration during its deliberations, came

    to the following conclusions with regard to the present state of affairs:

           042
            To the extent that a National policy on research in weather
I           modification can be identified     it reflects the present Federal

             strategy of developing techniques to achieve particular objec-

             tives such as augmenting water resources or diminishing the

             damage from hurricanes.   This strategy does not view the

             development of a weather modification science and technology

             as a national goal whose achievement would allow many different

             applications as needs arise.

           042
            This strategy, which encourages the individual agencies to conduct

            weather modification research in pursuit of their assigned mis-

            sions, has divided the research responsibility, while budgetary

             limitations over the past several years have produced a situation

            in which many individual projects are marginally staffed, funded,

            and operated.    This divided resnonsibility approach lends itself

             to the criticism of "fracmentation" by sexe.    '   '

           042
            The leve1 of scientifIc and technoloeica1 comoIexity of even modest

            weather modification experimentation requires .i higher level of

            funding than has usually been available to acco-p11sh individual

            project goals.   This finding is consistent with recent conclusions


I   9/ Letter from Norman E. Ross, Jr., Assistcint Dire -t.ir, lùmestic Council,
       to Congressman Gilbert Gude, Congressional Rewrd -        se, June 17,
       1975, p. H5629.




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                                                                                             I
        reached by the ::at ional Academy of Sciences and the National

       Advisory Certittee on Oceans and Atmosphere.6,         7/

      042
       Iaile progress h.u. heen generally slow and uneven, some advance-

       -cut ha- been achieved over the past         two decades in several types

           weatNt modification research under existing policies.           Bis

        findina is     in agreement with conclusions reached In the reporto

        cited   abov   .


      042
       Fundamenta          kaawledge concerning physics and dynamics of cloud

        processes is inadequate.         This finding is consistent with the

        general view expressed by the recent American Meteorological

        Society cloud physics review.10/ he lack of the necessary scien-

        tific base is one of the major bottlenecks impeding development of

        useful, deliberate weather modification techniques.        Other

        scientific and technical aspects of weather modification also need
                                                                                            I.




        improvement; for example, observation systems, techniques of eval-

        uation, and delivery systems.

     In light of the economic losses and potential benefits discussed in

the opening section of this report, the Subcommittee concludes that weather

modification represents an important potential tool for exerting influence

over destructive and disruptive weather events.         Successful weather modi-

fication techniques to favorably influence weather elements would have a

high benefit/cost ratio.         As the population continues to grow and becomes

increasingly concentrated in regions of severe weather and as the demand

for water for agriculture, industry, and domestic use grows, the



10/ "Cloud Physics", Roscoe R. Braham, Jr., and Patrick Squires, Bulletin
    of the American MetgaggLggLcALâg£1sJ;y_, Vol. 55, No. 6, June 1974,
    pp 543-586.
                                         18




                                                                                   P00000126692
    possibilities for effective weather modification are likely to appear even

    more attractive as a means for augmenting the economy and preventing dis-

    asters.     There remains, however, the seriout question of possible disbene-

    fits or ancillary consequences.         Only through additional research can the
a
    ultimate potential of weather modification be estimated accurately.            The

    Subcommittee recommends, therefore, that

              042
               The Federal Government recognize weather modification as having

               significant potential for ameliorating important usather-related

               problems and foster a broad-based effort of research and experi-
I              mentation in usather modification designed to realize this

               potential during the next decade.

              042
               The Federal Government c:amine its institutional structure for

              planning and management of the national weather modification

                            nrm cut ita respcnaibilities for research and exper-

                 enza:icn.     "he Subc&tcee idandfied two practical institu-
                .                                                      11/
p              =cona     op&ne but could nc: achicar consensus on either-

               * dac cinn should be made betracn the following options:

                       Occi:n (1)   Continue acædinarian and planning of the

                                    naricna? weather modification effort through
                                    the In:cedepar:mental Consnittee for Atmospheric

                                    Sciencea of the Faderal Council for Science and

                                    Technology, vith indiviÃüal agencies purauing

                                    their Merien recr¬wi?itities,


    11/ Appendix A presents views submitted by those agencies wishing to
        comment on these options.




                                                                               P00000126693
     Opt:ion ( 2)                   e ai uc




                    National Advisory Comittee on Oceana and Atmo-

                    aphe re , the Na ti ona l Acadenry af Sei e neea , and

                    other groupe to coordinate and plan the nationa

                    effort øith the aseistance and participation a

                    other agencies.

042
 Weather modification research in general be funded at an increased

 level to ensure that present marginal efforte can be tramformed

 into significantly more productive activities.          A number of scien-

 tific bodies have looked at the level of funding needed for a

 comprehensive weather modification program.         In 1966, the National

 Academy of Sciences suggested that sorte $30 million in Federal

 support would be required by t1:;cal vear 1970.         The Federal Council

 for science and Technology (Newell Report), on the basis of a

 much nore thorough study of agency requirements, recommended a

 f igure of about $90 mi l l ion for f isca l year 1970.     rne National

 Academy of Sciences, in its 1973 report, estimated that no less

 than $50 niillion will be required annu,1.1v to implement their

 reconstended national program.      We as a Subcommittee believe there

 is now a need for a new plan or assess-ent as to what is required,

 and that such a plan should be prepared by the Federal group or

 agency with central responsibility as        !ctermined hv the previous

 recommendation.




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            namics of cloud processe   to advance weather modification technology
            and its application.

           042
            Greater emphasia in research be placed on the asseaament of the

            acasoeconomso and environmental impacts of ueather modification.

            There are many cases where field experimentation has encountered

            serious difficulty because of public (social) impact or the con-

            cerns expressed by foreign governments.     More important is the

            need to provide input for rational decisions concerning the

            possible application of the developed technology.

           042
            Greater emphasia be placed on the development of improved method-

            ologiaa to evaluate the effecta of weather modification.    This

            recommendation has been made because this is a major obstacle to

            efficient experimentation and to effective monitoring of weather



            quate to distinguish natural fran man-made changes.

    B.   Operations

         Federal weather modification progra-.s generally have been limited

    thus far to research and develop-ent act ivities.    However, depending upon

    the definition selected, there have been some donestic activities that

    could be termed operational.

         Because of severe drought in 1971, energencv cloud seeding efforts

    for drought alleviation in Arizona, Texas, and Oklahoma were undertaken by

    the Bureau of Reclamation at the reonest of the gvernors of those states

    and at the direction of the Office of Emereency Pr paredness.     The National




                                                                          P00000126695
                                                                                             I
Oceanic and Atmospheric Adelnistration alno expanded its ongoing research

project in seeding tropical cumulus clouds in Florida in 1971 in response

to an appeal by the Governor of Florida for drought alleviation assistance.

In addition,   the Department   of Detense has undertaken operational weather

modification to disperse fog at several of its military installations.                       E
     The Bonneville Power Administration of the Department of the Interior

proposed to utilize cloud seeding operationally to help relieve a critical

power shortage in the Pacific Northwest in the fall of 1973 by augmenting

precipitation in the drainage basin above Hungry Horse Dam in Montana.

The project was never implemented because a change in weather conditions

made it unnecessary.     However, there are plans to consider implementing

the project should conditions again warrant such action.

     There has also been limited Federal application of existing lightning

suppression and precipitation enhancement seeding techniques in an attempt

to decrease initiation of lightning-caused forest fires or suppress on-

going fires in Alaska.     A seeding capability was tested and deployed,

though not actually used, at Cape Canaveral in connection with Apollo-

Soyuz and Viking launches during the summer of 1975.

     Results from most Federal research nrojects have not yet reached a

nenerally acceptable level of statistical significance; research in some

areas of weather modification is not presently considered to have reached

i he experimental s tate ( tornadoes , h 1 i zzards , and i i nod control) , nor

have anticipated economic benefits or environmental effects been fully

determined.    Nevertheless, many nonfederal troups, atter weighing the

uncertainties, have proceccec to innlement operational programs.



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                                                                                   P00000126696
I
         In a report en weather modif ication activities in the United States

    covering calendar year 1974, a 1isting of 74 reporta submitted to NOAA

    shows that there were 65 nonfederallv sponsored operational projects con-

    ducted in 22 different states, most in the West.       The data also show
I   that there were three principal purposes for the activities:     precipitation

    increase, fog dispersal, and hail decrease.   Sponsors of these operational

    activities included states, cities, counties, municipal districts, airport

    authorities, community associations, power companies, airlines, and others.

         Although few operational weather modification techniques have been
I   thoroughly proven, the Subcommittee finds that several techniques are

    sufficiently close to a stage of proven effectiveness that they should be

    considered as management options in some situations.    For example, given

    the proper conditions, precipitation can be increased from cold orographic

    winter clouds and from individual cumulus clouds, and supercooled fogs and

    low stratus can be dissipated over limited areas.   Although success has

    been claimed in other operations such as hall modification, these opera-

    tional weather modification activities have not been subjected to the

    kind of scrutiny recuired for substantiating such claf-s.

         In view of this finding and because of expected increased public

    pressure for Government action to cope with critical water shortages,

I   periodic droughts, destructive storns, and other weather phenomena, the

    Subco-:mittee believes that relatiw roles of the Federal Government and

     he nonfederal sector in the operational upplicat ion of weather modifica-

    tion should be clarified.   Accordingly, the %5committee reconumends that:


    12/ Weather Modification Act ivity Reports - Glendar Year 1974, Environ-
I       mental Moditication Office, National Oceanic nd Atrospheric A:lninis-
        tration, Rockville, Maryland, March 1975.




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 and deai rab                                     , : n.   F, a.           .

 reserve for                    ..                · y '.                          . :            I
 -   Precipitation modification relaèed to water reeoaces bene-

     fiting several states and to projecte under Federal jta~iadic-



 -   Weather modification to improve conditions over airporte, roads,

     por ta , Nati ona l Fores ta , and o the r lands unde r Fede ra l            a*i a -

     diction.

 -   Mitigation of large-ecale (more than one State) developing

     drought, with the concurrence and cooperation of the states

     involved, where it ia determined that the effects may be aide-

     apread or threaten the Nation's ualfare.

 -   Mitigation of hurricanes and other extensive storm systema

     which affect rnare than one state and represent a major threat

         life and proper$             Tornadoes pose a special problem

     because of their local and short-term, but extremely severe,

     effects.    Because there is :m known technique for dealing with

     the tornado prob:em,            the subcorr.ittee fec's that it is inap-

     propriate to make a recamnendation with re,·ard to relative

     roles at   the present time.



                                         .-                          tion addressed to

                                                                     eing a Federal

                   .       A number of                               dy adopted weather

 modification legislation             ind some have        uit i .ted extensive




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I          operational pror,rams.

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           Private sector ·xi!!!·in !w ucea in ÷.                  .W i ·,'
I          usather modification operatÀons tâtère both feasible and desirable.
    C.   Regulation

         Currently, Federal legislation does not provide for regulation or

    control of weather modification activities.   The only Federal legislation

    and rules associated with weather modification deal with the reporting of

    nonfederal projects to the Department of Commerce under Public Law 92-205.

    Federal projects are also reported to the Department of Commerce by inter-

    agency agreement.

         The rules that implement the reporting law provide a viable mechanism

    for gathering information in the United States on project details as well

    as related environmental impact and safety considerations.    The reporting

    program also allows State officials and project personnel to be alerted if

    an activity poses a possible hazard to the public, property or the envi-

    ronment, or interference with Federal research.   Since the program was

    initiated in 1972, no alert notices have been issued.   Although more

    restrictive legislation has been proposed, the reporting law remains the

    only applicable Federal regulation on weather modification.

         On the state level, approxinately thirty states have enacted legis-

    lation relating to weather modification.   These statutes rance from simple

    acknowledgement of weather modification to strict requirements for such

    items as licenses, permits, financial responsibility, public notices, tax

    levies, and penalties.   The most recent state laws are more sophisticated

    in their coverage than earlier legislation.   A few st ates are now consider-

    ing new legislation or amendments to present laws.   Thus, in the United


I                                      ²³                                                    I




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States, weather modificat                            S

degree of regulation.

      Three years ago, a detailed                 r zed and analyzed the

various needs for Federal regulation in the field of weather modification.

That paper concluded that all nonfederal weather modification projects

should be prohibited unless a Federal permit was first obtained.             The

grounds for review of proposed projects would have been limited to inter-

ference with federally sponsored projects and protection of the public and

of the national environment.    The issuance of a Federal permit would

signify merely that the Federal Government was satisfied on those two

grounds.

      The recommendations as contained in that paper were based upon the

following findings made in 1972 that:

      A.    "There is a substantial and growing amount of weather modifica-

            tion activity in the United States. -- Extensive operational

            programs are being carried out by the private sector.

      B.    "The present state of the art in weather modification varies

            with the phenomena involved, but is advancing rapidly.

      C.    "Tnere is a real and r,rowing concern over interference between

            and a-ong weather modification programs, particularly bet

            private operations and extensive research programs suppor
                                                                              042en

                                                                                      by
                                                                                             I
                                                                                             I    .


            Federal funds.

       D.   "pro jects nav have significant adverse enviren¬ental

            ranging from immediate hazards to life anc promrt v te 1           -term

            alterations in land use patterns and threats to e     Wi               ystems.


 73   y                                      tion, 3ecerner
      paper, the Council on i nvironnental   alitv, i mm nna n,      .   .

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         E.   "The purpose, scope and adequacy of (State laws) have varied
              widely."

         Examination of current information and the Subconcittee's hearing

    testimony shows that the findings of three years ago require qualification.
    It now appears that:

         A.   A rapid growth of weather modification activity has not continued

              in the Federal and nonfederal sectors.   Federal funding of

              weather modification research has decreased about 25 percent;

              funding for the private sector is not known, but no dramatic

              increase has been indicated.   The number of projects, operators

              and States involved has shown no sustained growth.      The conclusion

              is that weather modification activities in both the Federal and
I             nonfederal sectors are substantial and steady.    Generally, there

              are fewer projects in fewer states with fewer operators, but the

              total target area is increasing.

        B.    The state of the art of weat.her nodificar !nn has not advanced as

              speedily as anticipated.

        C.    Interference between and among weather modification activities

              has not been a problen in the past three vears.

        D.    To the extent that environmental effects brze been inven: Lgated,

              no short-tem adverse effects have been substantiated.       The

              question of long-term impacts re-.ains open.

        E.    State laws have tendèd ta beco-.e more co-pr hensive.     Major

I             issues or problems due to State laws gevernine, weather nodifi-

              cation have not developed.




                                                                                   P00000126701
     In view of the above the31 coûss                               ds that additional pèderal
regulatory legislation is not needed at this tizae and reporting procedures

have fulfilled an important need.                However, given the still significant

amount of activity in the field as well as the potential for increased

use of the technology, prudence dictates a continuing examination of the

need for Federal laws and regulations and international treaties and                                        I
agreements to govern weather modification activities.                         This conclusion is

based on the overriding considerations that weather phenomena cross state

and national boundaries and improperly conducted weather modification may

adversely affect public welfare.                                                                            I   .

     In addition, weather modification activities may have effects outside

U.S. territory and thus have an important impact on our foreign relations.

An earlier concern by Canada on a proposed cloud seeding project in Wash-

ington State that could affect Canadian territory is a case in point.                                As

a result of this and related concerns, the U.S. and Canada signed an agree-

ment on March 16, 19W to exchange information on weather modification

activities conducted within 200 miles of the international boundary.                                 Such

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    foreign   eathe   icadon activities include prnor accesa-




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                                                                P00000126703
                                                                   Appendix A


             A LEAD AGENCY FOR THE Pb         ATHER MODIFfCATION
                                RESEARC4 PROGRAM


         The Departments of Commerce, State and Transportation and the National

    Aeronautics and Space Administration have examined the institutional options

    presented on pages 19 and 20 of the Subcommittee on Climate Change report,

    "The Federal Role in Weather Modification," and subscribe to option 2.
I   This option calls for the establishment of a lead agency to foster the

    broad advancement of science and technology of weather modification.     We

    strongly support the position that establishing a lead planning and coor-

    dinating agency for weather modification research and development would

    provide the basis for a more productive and effective national program, and

    we recommend that the National Oceanic and Atmospheric Administration (NOAA)

    be assigned this lead agency responsibility.

         Various review bodies are identified in the Subcommittee report as

    advocating the lead agency approach.   These groups have argued that a lead

    agency is needed to achieve the following objectives:

           042
            To provide a central focus for the overall weather modification

            research and developnent effort.

            To overcome fragmentation and duplication in past weather modifi-

            cation research activities.

           To develop a national progran with goals, objectives, priorities,

I          and nilestones.

I         042
           To develop a plan to allocate resources to the national program

           elements.


I



                                                                           P00000126704
         042
          To effectivel'c coordirqLe activitlea of Federal          depart-ents   and

          agencies provid ne support       to or conductinn wearber nodification

          research.

         042
          To provide the scientific and management crpetence, the dedica-

          tion, and the resources necessary to make the national goals in

          weather modification an integral part of its basic mission.

     For the above reasons and because of our conviction that technologies

for different modes of weather modification that one would wish to develop

for different application all flow from a common font of science and

experimentation, we subscribe to the view that the science could best be

served by assignment of lead responsibility to an appropriate agency.

     We feel that the charter for this lead responsibility should include

the following:

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          The lead agency would assume the leadership for planning the

          federal weather modification program, in concert with those other

          concerned agencies, universities, and the private sector,

     e    The lead agency would present, within the Executive Branch, a

          consolidated nationnt weather modification research plan and be

          available to represent the national plan before the Congress.

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          The   lead agency would, witnin the t ramework of the        join   nlanning           I
          effort, encourage and assist in               042.ifyiny
                                                              programmatic wrivities



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           oine miss inn-related activi r l es.




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         e   The lead agency would take on the responsibility for presenting

             the budgetary requirements to carry out the national plan to the

             Office of Management and Budget and, with due consideration of

             overall priorities of the agency, would seek to provide within

             its own budget for activities essential to the national plan and

             not incorporated in the budgets of the other agencies.

         It is expected that other departments and agencies, because of their

    continuing responsibility for the application of weather modification,

    would provide for the necessary financial support within their individual

    agency budgets.

         The recommendation that NOAA be designated the lead agency for

    weather modification research stems from its broad weather responsibil-
I   ities as the principal national civil weather agency.   These broad weather

    responsibilities give NOAA a broad range of managerial, technical, and

    facility capabilities suited to the role of a lead agency.    It should be

    emphasized that, within the framework of the designation of NOAA as lead

    agency, it is expected that the National Science Foundation would continue

    to have the primary responsibility for supporting the basic science and

I   the fundamental research at the universities and at the National Center

    for Atmospheric Research.   Other Departments, such as Interior and

    Agriculture, would continue to exercise responsibilities for application

    of weather modification in support of their missions.   The National

    Aeronautics and Space Administration would continue to have primary re-

    sponsibility for supporting research and development in the application

    of space technology to Problems in weather modification.     The Department

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of State would exercise the responsibility for assessing the impacts of

weather modification activities on U.S. international relations and form-

ulate foreign policy positions relevant to such activities.




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